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                                                                                      12/13/2021
                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

IN RE:                                                §
                                                      §
SHRUNGI LLC,                                          §          CASE NO. 21-40166
                                                      §
        Debtor.                                       §          Chapter 11

             ORDER CONFIRMING DEBTOR’S COMBINED PLAN OF
         REORGANIZATION AND DISCLOSURE STATEMENT, AS MODIFIED

        CAME ON FOR CONSIDERATION BY THE COURT the Debtor’s Combined Plan of

Reorganization and Disclosure Statement [Docket No. 41) as modified by the First Modification

to Debtor’s Combined Plan of Reorganization and Disclosure Statement [Docket No. 65]

(collectively, the “Plan”) filed by Shrungi LLC (“Debtor”), Debtor in the above-styled and

numbered case, and the Court having considered the evidence presented and the arguments of

counsel and for the reasons set forth on the record confirms the Plan. It is accordingly,

        ORDERED, ADJUDGED AND DECREED that the Debtor’s Disclosure Statement

contained in the Plan is hereby approved on a final basis. It is further

        ORDERED, ADJUDGED AND DECREED that the Plan complies with section 1129 of

the Bankruptcy Code, 11 U.S.C. Section 1129, including the following:

        a.      Section 1129(a)(1).       The Plan complies with the applicable provisions of Title 11.

        b.      Section 1129(a)(2).       The proponent of the Plan has complied with the applicable

provisions of Title 11.

        c.      Section 1129(a)(3).       The Plan has been proposed in good faith and not by any

means forbidden by law.




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        d.      Section 1129(a)(4).       Any payments for services or for costs and expenses in

connection with the case, or in connection with the Plan and incident to the case, have been

approved by, or are subject to the approval of, this Court as reasonable.

        e.      Section 1129(a)(5).       The proponent of the Plan has disclosed the identity and

affiliation of any individual proposed to serve, after confirmation of the Plan, as an affiliate or

successor of the Debtor, the continuation in such employment is in the best interest of the creditors

and public policy, and the nature of any compensation for such insider.

        f.      Section 1129(a)(6).       This provision is not applicable.

        g.      Section 1129(a)(7).       With respect to each Class of impaired Claims or Interests,

each holder of a Claim included in such Class (i) has accepted the Plan, or (ii) will receive or retain

on account of such Claim property of value, as of the Effective Date of the Plan, that is not less

than the amount such holder would receive or retain if the Debtors were liquidated under Chapter 7

of Title 11 on such date.

        h.      Section 1129(a)(8).       The impaired class of unsecured creditors has voted for the

Plan.

        i.      Section 1129(a)(9).       The Plan provisions include the following:

                1.       Holders of Allowed Administrative Claims will be paid in full.

                2.       Holders of Allowed Priority Claims will be paid pursuant to Section 1129.

        j.      Section 1129(a)(10). At least one Class of impaired Claims has voted to accept the

Plan, determined without the acceptance of any insider.

        k.      Section 1129(a)(11). The Plan is feasible. Confirmation of the Plan is not likely to

be followed by the liquidation of, or need for further financial reorganization of, the Debtor. The

Debtor has shown it has sufficient cash flow to make the payments called for by the Plan.


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          l.       Section 1129(a)(12). All fees under 28 U.S.C. § 1930 have been paid or will be

paid on the Effective Date.

          m.       Section 1129(a)(13). This subsection does not apply to the Debtor.

          n.       Section 1129(a)(14). This subsection does not apply to the Debtor.

          o.       Section 1129(a)(15). This subsection does not apply to the Debtor since no

unsecured creditors objected to confirmation of the Plan.

          p.       Section 1129(a)(16). This subsection does not apply to the Debtor.

It is, therefore

          ORDERED, ADJUDGED AND DECREED that the Plan is hereby confirmed. It is

further

          ORDERED, ADJUDGED AND DECREED that the Debtor shall pay the United States

Trustee quarterly fees until the Clerk of the Court closes the case and shall file quarterly reports as

required with the United States Trustee in the form required by the Office of the United States

Trustee until the case is closed.


                                                                 Signed on 12/13/2021

                                                                                YM
                                                  HONORABLE BRENDA T. RHOADES,
                                                  CHIEF UNITED STATES BANKRUPTCY JUDGE




Submitted by:
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